           Case 20-61065-pwb                     Doc 1     Filed 01/19/20 Entered 01/19/20 17:06:45                              Desc Main
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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Northern
 ____________________             Georgia
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                          The Krystal Company
                                           ______________________________________________________________________________________________________




2.   All other names debtor used            N/A
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer               6 2         0 2      6 4      1
                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                                                                4 0
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           1455 Lincoln Parkway
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                           Suite 600
                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                           Dunwoody, Georgia 30346
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           DeKalb County
                                                                                                         Various Locations
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 www.krystal.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


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Debtor           The Krystal Company
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             7 ___
                                            ___ 2 ___
                                                   2 ___
                                                      5


8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                              4/01/22 and every 3 years after that).
                                                          
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12

9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.            See Attachment
                                                   Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


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Debtor         The Krystal Company
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have       No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                                       24787 John T. Reid Parkway
                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________
                                                                           Scottsboro
                                                                          _______________________________________          AL
                                                                                                                          _______     35768
                                                                                                                                      ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                                          Mitsui Sumitomo Insurance Company of America
                                                    Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     Jeff Ciaramella
                                                                          ____________________________________________________________________

                                                         Phone
                                                                           (412) 375-6573
                                                                          ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                        100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor          The Krystal Company
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                                          01/19/2020
                                            Executed on _________________
                                                        MM / DD / YYYY


                                               /s/ Jonathan Tibus
                                            _____________________________________________               Jonathan Tibus
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                                   Chief Restructuring Officer
                                            Title _________________________________________




18.   Signature of attorney
                                         /s/ Sarah R. Borders
                                            _____________________________________________              Date           01/19/2020
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY



                                            /s/ Sarah R. Borders
                                            _________________________________________________________________________________________________
                                            Printed name

                                             King & Spalding LLP
                                            _________________________________________________________________________________________________
                                            Firm name
                                            1180 Peachtree Street N.E.
                                            _________________________________________________________________________________________________
                                            Number     Street
                                             Atlanta
                                            ____________________________________________________           GA
                                                                                                           ____________  30309
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                             (404) 572-4600
                                            ____________________________________                            sborders@kslaw.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                             610649
                                            ______________________________________________________ Georgia
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                                           SCHEDULE 1

         Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         The following list identifies all of the affiliated entities, including the Debtor filing this
petition (collectively, the “Debtors”), that filed voluntary petitions for relief under chapter 11 of
title 11 of the United States Code in the United States Bankruptcy Court for the Northern District
of Georgia, Atlanta Division, contemporaneously with the filing of this petition. The Debtors
have moved for joint administration of these cases under the case number assigned to the chapter
11 case of The Krystal Company.

   •   The Krystal Company
   •   Krystal Holdings, Inc.
   •   K-Square Acquisition Co., LLC
Case 20-61065-pwb         Doc 1    Filed 01/19/20 Entered 01/19/20 17:06:45          Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                               )     Chapter 11
                                                     )
THE KRYSTAL COMPANY,                                 )     Case No. 20-_____ (___)
                                                     )
                                                     )
                Debtor.                              )
                                                     )

                          LIST OF EQUITY SECURITY HOLDERS

         Pursuant to Rule 1007(a)(3), the undersigned, the Chief Restructuring Officer of the

above-captioned debtor (the “Debtor”), certifies that the following is a list of the Debtor’s

significant equity security holders.

         Debtor              Equity Holder               Address of         Percentage of
                                                       Equity Holder        Equity Held
The Krystal Company       Krystal Holdings, Inc.   1455 Lincoln Parkway         100%
                                                   Suite 600
                                                   Dunwoody, GA 30346




35918959.v1
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Date: January 19, 2020                        /s/ Jonathan Tibus
      Atlanta, Georgia                        Jonathan Tibus
                                              Chief Restructuring Officer
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                              )       Chapter 11
                                                    )
THE KRYSTAL COMPANY,                                )       Case No. 20-_____ (___)
                                                    )
                                                    )
                Debtor.                             )
                                                    )

                          CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure

and to enable the Judges to evaluate possible disqualification or recusal, the undersigned counsel

for the debtor in the above-captioned action certifies that the following is a corporation, other

than the debtor or a governmental unit, that directly or indirectly owns 10% or more of any class

of the corporation’s equity interests:

                  Shareholder                              Percentage of Shares Held

              Krystal Holdings, Inc.                                   100%




35918895.v2
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Date: January 19, 2020                        Respectfully submitted,
      Atlanta, Georgia
                                              KING & SPALDING LLP


                                              /s/ Sarah R. Borders
                                              Sarah R. Borders
                                              Georgia Bar No. 610649
                                              Jeffrey R. Dutson
                                              Georgia Bar No. 637106
                                              Leia Clement Shermohammed
                                              Georgia Bar No. 972711
                                              KING & SPALDING LLP
                                              1180 Peachtree Street NE
                                              Atlanta, Georgia 30309
                                              Telephone: (404) 572-4600
                                              Email: sborders@kslaw.com
                                              Email: jdutson@kslaw.com
                                              Email: lshermohammed@kslaw.com

                                              Proposed Counsel for the Debtors in
                                              Possession
                                 Case 20-61065-pwb                              Doc 1             Filed 01/19/20 Entered 01/19/20 17:06:45                                                                               Desc Main
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      Fill in this information to identify the case:
      Debtor name THE KRYSTAL COMPANY, et al,
      United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                                                        
      Case number (If known): ______________                                                                                                                                                  Check if this is an amended
                                                                                                                                                                                             filing


      Official Form 204
      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
      Unsecured Claims and Are Not Insiders                                         12/15
      A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.
      § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

      Name of creditor and complete mailing address, including zip code      Name, telephone number, and email address of               Nature of the claim (for      Indicate if claim is   Amount of unsecured claim
                                                                             creditor contact                                           example, trade debts,        contingent,             if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                        bank loans, professional     unliquidated, or        amount. If claim is partially secured, fill in total claim amount
                                                                                                                                        services, and government     disputed                and deduction for value of collateral or setoff to calculate
                                                                                                                                        contracts)                                           unsecured claim.
                                                                                                                                                                                              Total claim, if         Deduction for value Unsecured claim
                                                                                                                                                                                             partially secured       of collateral or setoff

      THE TOMBRAS GROUP                                                      ATTN: DOOLEY TOMBRAS
      620 S. GAY STREET                                                      TITLE: PRESIDENT
 1 KNOXVILLE, TN 37902                                                       PHONE: 865-524-5376                                               Trade Payable                                                                                $      4,223,982.29
                                                                             EMAIL: DTOMBRAS@TOMBRAS.COM
                                                                             FAX: 865-524-5667
      US FOODS, INC                                                          ATTN: DIRK LOCASCIO
      9399 WEST HIGGINS ROAD                                                 TITLE: CHIEF FINANCIAL OFFICER
 2 SUITE 500                                                                 PHONE: 847-232-5800                                               Trade Payable                                                                                $      2,871,146.70
      ROSEMONT, IL 60018                                                     EMAIL: DIRK.LOCASCIO@USFOODS.COM
                                                                             FAX: 847-720-2345
      RADIANT SYSTEMS                                                        ATTN: SCOTT SYKES
      864 SPRING ST NW                                                       TITLE: HEAD OF CORPORATE COMMUNICATIONS
 3 ATLANTA, GA 30308                                                         PHONE: 212-589-8428
                                                                                                                                               Trade Payable                                                                                $        560,053.14
                                                                             EMAIL: SCOTT.SYKES@NCR.COM
      SLM WASTE & RECYCLING SERVICES, INC                                    ATTN: SUSAN DAYWITT
      5000 COMMERCE DRIVE                                                    TITLE: CHIEF EXECUTIVE OFFICER
 4 GREEN LANE, PA 18054                                                      PHONE: 215-258-7401                                               Trade Payable                                                                                $        535,021.39
                                                                             EMAIL: SUSAN.DAYWITT@SLMFACILITIES.COM
                                                                             FAX: 215-258-3823
      VEREIT                                                                 ATTN: LAUREN GOLDBERG
      2325 E. CAMELBACK ROAD, 9TH FLOOR                                      TITLE: GENERAL COUNSEL
 5 PHOENIX, AZ 85016                                                         PHONE: 602-778-8700
                                                                                                                                                    Rent                                                                                    $        366,215.60
                                                                             EMAIL: LGOLDBERG@VEREIT.COM
      UNITED HEALTH CARE                                                     ATTN: DAVID S. WICHMANN
      9800 HEALTH CARE LN                                                    TITLE: CHIEF EXECUTIVE OFFICER
 6 MINNEAPOLIS, MN 55436                                                     PHONE: 866-204-0911
                                                                                                                                               Trade Payable                                                                                $        300,693.17
                                                                             EMAIL: DAVID_S_WICHMANN@UHG.COM
      ALETHEIA MARKETING & MEDIA LLC                                         ATTN: CHRIS SCHEMBRI
      15770 NORTH DALLAS PARKWAY, SUITE 200                                  TITLE: CHIEF EXECUTIVE OFFICER
 7    DALLAS, TX 75248                                                       PHONE: 972-776-4070                                               Trade Payable                                                                                $        278,658.69
                                                                             EMAIL: CSCHEMBRI@ALETHEIA-NA.COM
                                                                             FAX: 972-829-9100
      MARRIOTT INTERNATIONAL                                                 ATTN: ARNE SORENSON
      10400 FERNWOOD ROAD                                                    TITLE: CHIEF EXECUTIVE OFFICER
      BETHESDA, MD 208170                                                    PHONE: 214-905-0050
                                                                             EMAIL: ARNE.SORENSON@MARRIOTT.COM
 8 - AND -                                                                   FAX: 301-644-7624                                                 Trade Payable                                                                                $        264,422.74

      SAWGRASS MARRIOTT GOLF RESORT & SPA
      1000 PGA TOUR BLVD
      PONTE VEDRA BEACH, FL 32082
      FIREEYE INC                                                            ATTN: KEVIN MANDIA
      601 MCCARTHY BLVD.                                                     TITLE: CHIEF EXECUTIVE OFFICER
 9    MILPITAS, CA 95035                                                     PHONE: 408-324-9046                                               Trade Payable                                                                                $        216,000.00
                                                                             EMAIL: KEVIN.MANDIA@FIREEYE.COM
                                                                             FAX: 408-321-9818
      FLOWERS BAKING COMPANY OF OPELIKA                                      ATTN: BRAD ALEXANDER
      1919 FLOWERS CIRCLE                                                    TITLE: CHIEF OPERATING OFFICER
 10 THOMASVILLE, GA 31757                                                    PHONE: 229-227-2353                                               Trade Payable                                                                                $        185,952.44
                                                                             EMAIL: BRAD_ALEXANDER@FLOCORP.COM
                                                                             FAX: 229-225-2646
      INTERGRATED GRAPHICS LLC                                               ATTN: BILL BYRNE
      8800 EAST PLEASANT VALLEY ROAD                                         TITLE: PRESIDENT
 11 INDEPENDENCE, OH 44131                                                   PHONE: 216-520-480 ext. 3126
                                                                                                                                               Trade Payable                                                                                $        179,130.85
                                                                             EMAIL: BILL.BYRNE@PROFORMA.COM
      QUATRRO FPO SOLUTIONS, LLC                                             ATTN: CHARLES HARMORNICK
      1850 PARKWAY PLACE SE # 1100                                           TITLE: PRESIDENT
 12 MARIETTA, GA 60018                                                       PHONE: 866-622-7011
                                                                                                                                               Trade Payable                                                                                $        152,912.35
                                                                             EMAIL: CHUCK.H@QUATRRO.COM
      MCGUIREWOODS LLP                                                       ATTN: CHRISTOPHER K GREENE
      1230 PEACHTREE STREET, N.E. SUITE 2100                                 TITLE: PARTNER
 13 ATLANTA, GA 30309-3534                                                   PHONE: 404-443-5721                                               Trade Payable                                                                                $        137,232.12
                                                                             EMAIL: CGREENE@MCGUIREWOODS.COM
                                                                             FAX: 404-443-5692
      YEXT, INC                                                              ATTN: STEVE CAKEBREAD
      1 MADISON AVE                                                          TITLE: CHIEF FINANCIAL OFFICER
 14 5TH FLOOR                                                                PHONE: 415-507-8101
                                                                                                                                               Trade Payable                                                                                $        114,660.00
      NEW YORK, NY 10010                                                     EMAIL: SCAKEBREAD@YEXT.COM
      SNAP TECH IT,LLC                                                       ATTN: KARL BICKMORE
      1414 W. BROADWAY RD.                                                   TITLE: CHIEF EXECUTIVE OFFICER
 15   STE 105                                                                PHONE: 480-553-9967
                                                                                                                                               Trade Payable                                                                                $        112,694.20
      TEMPE, AZ 85285                                                        EMAIL: KBICKMORE@SNAPTECHIT.COM
      JOHNSON CONTROLS                                                       ATTN: BRIAN STIEF
      5757 N. GREEN BAY AVE.                                                 TITLE: CHIEF FINANCIAL OFFICER
 16   P.O. BOX 591                                                           PHONE: 229-529-9365
                                                                                                                                               Trade Payable                                                                                $        110,339.60
      MILWAUKEE, WI 53201                                                    EMAIL: BRIAN.STIEF@JCI.COM




Official Form 204                                                                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                 Page 1
                           Case 20-61065-pwb                                       Doc 1             Filed 01/19/20 Entered 01/19/20 17:06:45                                                                                 Desc Main
                                                                                                    Document      Page 11 of 16
Debtor __THE KRYSTAL COMPANY, et al.,_________________________                                                                                                                                                  Case number (if known)_____________________________________




      Name of creditor and complete mailing address, including zip code         Name, telephone number, and email address of               Nature of the claim (for        Indicate if claim is   Amount of unsecured claim
                                                                                creditor contact                                           example, trade debts,          contingent,             if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                           bank loans, professional       unliquidated, or        amount. If claim is partially secured, fill in total claim amount
                                                                                                                                           services, and government       disputed                and deduction for value of collateral or setoff to calculate
                                                                                                                                           contracts)                                             unsecured claim.
                                                                                                                                                                                                   Total claim, if         Deduction for value Unsecured claim
                                                                                                                                                                                                  partially secured       of collateral or setoff

      CSI OF THE SOUTHEAST INC                                                 ATTN: JUSTIN SAWYER
      110 SKYLINE DRIVE                                                        TITLE: VICE PRESIDENT OF SALES
 17 MAYNARDVILLE, TN 37807                                                     PHONE: 865-805-0344                                                Trade Payable                                                                                  $        109,529.04
                                                                               EMAIL: JSAWYER@CSISE.COM
                                                                               FAX: 865.992.7169
      STRATEGIC EQUIPMENT AND SUPPLY                                           ATTN: MARTY MONNAT
      2801 SOUTH VALLEY PARKWAY, STE. 200                                      TITLE: CHIEF EXECUTIVE OFFICER
 18 LEWISVILLE, TX 75067                                                       PHONE: 972-401-5300                                                Trade Payable                                                                                  $        105,177.97
                                                                               EMAIL: MMONNAT@STRATEGICEQUIPMENT.COM
                                                                               FAX: 469-240-7202
      REPUBLIC SERVICES NATIONAL ACCOUNTS, LLC                                 ATTN: JON VANDER ARK
 19 18500 N ALLIED WAY                                                         TITLE: PRESIDENT                                                   Trade Payable                                                                                  $        101,633.01
      PHOENIX, AZ 85054                                                        EMAIL: JON.ARK@REPUBLICSERVICES.COM
      HALO BRANDED SOLUTIONS,INC                                               ATTN: MARC SIMON
      1500 HALO WAY                                                            TITLE: CHIEF EXECUTIVE OFFICER
 20   STERLING, IL 61081                                                       PHONE: 212-695-9800                                                Trade Payable                                                                                  $        101,374.70
                                                                               EMAIL: MARC.SIMON@HALO.COM
                                                                               FAX: 815-632-6900
      RAGONA ARCHITECTURE & DESIGN PLLC                                        ATTN: MATT RAGONA
      145 SCALEYBARK RD A                                                      TITLE: PRINCIPAL
 21 CHARLOTTE, NC 28209                                                        PHONE: 704-943-9091
                                                                                                                                                  Trade Payable                                                                                  $         87,812.61
                                                                               EMAIL: MRAGONA@RAD-ARCH.COM
      DTT SURVEILLANCE                                                         ATTN: MIKE COFFEY
      111 SPEEN STREET #550                                                    TITLE: CHIEF EXECUTIVE OFFICER
 22 FRAMINGHAM, MA 01701                                                       PHONE: 617-949-8900
                                                                                                                                                  Trade Payable                                                                                  $         86,169.01
                                                                               EMAIL: MIKE@DTIQ.COM
      HORIZON RIVER TECHNOLOGIES, LLC                                          ATTN: JEF WALLACE
      3340 PEACHTREE ROAD NE SUITE 2600                                        TITLE: CHIEF EXECUTIVE OFFICER
 23   ATLANTA, GA 30326                                                        PHONE: 404-662-2216
                                                                                                                                                  Trade Payable                                                                                  $         83,430.50
                                                                               EMAIL: JEF.WALLACE@HORIZONRIVER.COM
      AR GLOBAL                                                                ATTN: KATIE KURTZ
      650 FIFTH AVENUE                                                         TITLE: CHIEF FINANCIAL OFFICER                                                                 Contingent &
 24   NEW YORK, NY 10019                                                       PHONE: 212-415-6500
                                                                                                                                                       Rent                                                                                      $         57,602.45
                                                                                                                                                                              Unliquidated
                                                                               EMAIL: KATIE.KURTZ@AR-GLOBAL.COM
      PREFERRED PREMIUM PROPERTIES, LLC                                        ATTN: BAGBY MEREDITH
      125 BRAZILIAN AVENUE                                                     TITLE: VICE PRESIDENT
                                                                                                                                                                              Contingent &
 25 PALM BEACH, FL 33480                                                       PHONE: 561-655-9510                                                     Rent                                                                                      $         56,916.82
                                                                               EMAIL: MEREDITHBAGBY@GMAIL.COM                                                                 Unliquidated
                                                                               FAX: 561-655-6495
      WANDA COLLINS                                                            PHONE: ON FILE                                                                                 Contingent,
 26 ADDRESS ON FILE                                                                                                                          General Liability Claim         Unliquidated &                                                          Undetermined
                                                                                                                                                                               Disputed
      ROBIN HOBBS                                                              PHONE: ON FILE                                                                                 Contingent,
 27   ADDRESS ON FILE                                                                                                                        General Liability Claim         Unliquidated &                                                          Undetermined
                                                                                                                                                                               Disputed
      REALTY INCOME, LP                                                        ATTN: SUMIT ROY
      11995 EL CAMINO REAL                                                     TITLE: CHIEF EXECUTIVE OFFICER                                                                 Contingent &
 28 SAN DIEGO, CA 92130                                                        PHONE: 877-218-2434
                                                                                                                                                       Rent                                                                                          Undetermined
                                                                                                                                                                              Unliquidated
                                                                               EMAIL: SROY@REALTYINCOME.COM
      STORE CAPITAL CORP/STORE MASTER FUNDING I, LLC                           ATTN: CHRISTOPHER H. VOLK
      8377 E. HARTFORD DR.                                                     TITLE: CHIEF EXECUTIVE OFFICER
                                                                                                                                                                              Contingent &
 29   SUITE 100                                                                PHONE: 480-256-1100                                                     Rent                                                                                          Undetermined
      SCOTTSDALE, AZ 85255                                                     EMAIL: CHRIS@STORECAPITAL.COM                                                                  Unliquidated
                                                                               FAX: 480-256-1101
      PENSION BENEFIT GUARANTY CORPORATION                                     ATTN: PATRICIA KELLY
      1200 K STREET, N.W.                                                      TITLE: CHIEF FINANCIAL OFFICER                                                                 Contingent,
 30 SUITE 340                                                                  PHONE: 703-448-0461                                                   Pension                 Unliquidated &                                                          Undetermined
      WASHINGTON, DC 20005-4026                                                EMAIL: KELLY.PATRICIA@PBGC.GOV                                                                  Disputed
                                                                               FAX: 202-326-4112
Note: Unsecured amounts contain projected estimates of pre-petition liability as of the Petition Date and are subject to change as accrued liabilities become invoiced.




Official Form 204                                                                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 2
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 Fill in this information to identify the case and this filing:


             The Krystal Company
 Debtor Name __________________________________________________________________

                                         Northern
 United States Bankruptcy Court for the: ______________________             Georgia
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                          List of Equity Security Holders, Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________
               and List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders



        I declare under penalty of perjury that the foregoing is true and correct.

                    01/19/2020
        Executed on ______________                          /s/ Jonathan Tibus
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Jonathan Tibus
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                        Execution Version


                             UNANIMOUS WRITTEN CONSENT
                              OF THE BOARD OF DIRECTORS
                               OF THE KRYSTAL COMPANY
                                  WITHOUT A MEETING

                In lieu of a special meeting of the Board of Directors of The Krystal Company, a
Tennessee corporation (the “Company”), the undersigned, being all the members of the Board of
Directors of the Corporation (the “Board of Directors”), do hereby, pursuant to Title 48, Chapter
18-202 of the Tennessee Business Corporation Act (the “Act”), declare that the actions
hereinafter set forth shall be, and hereby are, taken by the Board effective as of January 19, 2020:

                WHEREAS, the Board of Directors has determined that it is in the best interests
of the Company, its shareholders, its creditors, and other parties in interest for the Company to
file a voluntary petition seeking relief pursuant to chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy Court”) to address
the Company’s financial issues.

                NOW, THEREFORE, BE IT RESOLVED, that each of the President & Chief
Operating Officer, Chief Financial Officer and Chief Restructuring Officer, in their capacities as
officers of the Company (each an “Authorized Officer” and together, the “Authorized Officers”),
acting alone or with one or more other Authorized Officers, is hereby authorized and empowered
on behalf of, and in the name of, the Company to execute and verify or certify a petition under
chapter 11 of the Bankruptcy Code and to cause the same to be filed in the Bankruptcy Court at
such time as said officer executing the same shall determine and in such form or forms as any
such Authorized Officer may approve in such Authorized Officer’s sole discretion;

                FURTHER RESOLVED, that the law firm of King & Spalding LLP with its
principal office currently located at 1180 Peachtree Street, N.E., Atlanta, Georgia 30309 be, and
hereby is, employed as counsel for the Company in connection with the prosecution of the
Company’s case under chapter 11 of the Code;

             FURTHER RESOLVED, that each of the Authorized Officers be, and each of
them hereby is, authorized to employ and retain on behalf of the Company, Scroggins &
Williamson, P.C., as conflicts counsel, in connection with its case under chapter 11 of the
Bankruptcy Code;

               FURTHER RESOLVED, that each of the Authorized Officers be, and each of
them hereby is, authorized to prepare (or cause to be prepared), execute and file (or cause to be
filed) any and all petitions, schedules, motions, lists, applications, pleadings, and other papers, to
take any and all such other and further actions which any Authorized Officer or the Company’s
legal counsel may deem necessary, desirable or appropriate in connection with filing the
voluntary petition for relief under chapter 11 of the Bankruptcy Code and, upon authorization by
the Board as appropriate, to take and perform any and all further acts and deeds which they deem
necessary, proper or desirable in connection with the chapter 11 case, with a view to the
successful prosecution of such case;




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              FURTHER RESOLVED, that each of the Authorized Officers be, and each of
them hereby is, authorized to employ and retain on behalf of the Company King & Spalding,
LLP, as bankruptcy counsel, Alvarez & Marsal, interim management provider, Piper Jaffray, as
lead investment bank, and Kurtzman Carson Consultants LLC, as claims and noticing agent for
the Company, in connection with its case under chapter 11 of the Bankruptcy Code;

                FURTHER RESOLVED, that the Authorized Officers of the Company be, and
each of them hereby is, authorized and directed on behalf of the Company to take such actions
and to make, sign, execute, acknowledge, deliver and perform (and record in a relevant office of
the county clerk, if necessary) any and all such agreements, affidavits, orders, directions,
certificates, requests, receipts, or other instruments, as may be necessary, desirable, or
appropriate in the reasonable discretion of any such Authorized Officer to give effect to the
foregoing resolutions, and to execute and deliver such agreements (including exhibits thereto)
and related documents, and to perform fully the terms and provisions thereof;

                 FURTHER RESOLVED, that the Company be, and hereby is, authorized to pay
all fees and expenses incurred by it or for its account in connection with the actions approved in
any or all of the foregoing resolutions, and all actions related thereto, and each Authorized
Officer be, and each of them hereby is, authorized, empowered and directed to cause the
Company to make said payments as each such Authorized Officer may deem necessary,
appropriate, advisable or desirable, such payment to constitute conclusive evidence of such
Authorized Officer’s determination and approval of the necessity, appropriateness, advisability
or desirability thereof; and

               FURTHER RESOLVED, that to the extent that any of the actions authorized by
any of the foregoing resolutions have been taken previously by any Authorized Officers or
employees of the Company on its behalf, such actions are hereby ratified, approved and
confirmed in their entirety.

                                   [Signature Page Follows]




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       IN WITNESS WHEREOF, the undersigned, being all the members of the Board, have
executed this consent effective as of the date first written above.




                                                    Mike Klump, Director




                                                    Karl Jaeger, Director




                                                    Michael Elliott, Director




            [Signature Page to The Krystal Company Board Consent Approving Chapter 11]
